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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE PHILIPS RECALLED CPAP,               :
BI-LEVEL PAP, AND MECHANICAL               : Master Docket: Misc. No. 21-mc-1230-JFC
VENTILATOR PRODUCTS                        :
LITIGATION                                 : MDL No. 3014
                                           :
This Document Relates to: All Actions      :
Asserting Economic Loss Claims             :
                                           :
                                           :

     NOTICE OF FILING OF UPDATED LIST OF REQUESTS FOR EXCLUSIONS

       Pursuant to instructions from the Court at the Final Fairness Hearing on April 11, 2024,

Settlement Class Counsel has updated the List of Requests for Exclusion, attached hereto as

Exhibit “A,” for filing with the Court.

 Dated: April 11, 2024                            Respectfully submitted,

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